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                      1 ALLEN MATKINS LECK GAMBLE
                         MALLORY & NATSIS LLP
                      2 DAVID   R. ZARO (BAR NO. 124334)
                        TIM C. HSU (BAR NO. 279208)
                      3 865 South Figueroa Street, Suite 2800
                        Los Angeles, California 90017-2543
                      4 Phone: (213) 622-5555
                        Fax: (213) 620-8816
                      5 E-Mail: dzaro@allenmatkins.com
                                thsu@allenmatkins.com
                      6
                        ALLEN MATKINS LECK GAMBLE
                      7 MALLORY & NATSIS LLP
                        EDWARD G. FATES (BAR NO. 227809)
                      8 600 West Broadway, 27th Floor
                        San Diego, California 92101
                      9 Phone: (619) 233-1155
                        Fax: (619) 233-1158
                     10 E-Mail: tfates@allenmatkins.com
                     11 Attorneys for Receiver
                        KRISTA L. FREITAG
                     12
                     13                     UNITED STATES DISTRICT COURT
                     14                    CENTRAL DISTRICT OF CALIFORNIA
                     15                               WESTERN DIVISION
                     16     SECURITIES AND EXCHANGE          Case No. CV-14-2334-JFW-MRW
                            COMMISSION,
                     17               Plaintiff,             DECLARATION OF KRISTA L.
                     18          v.                          FREITAG REGARDING
                            WORLD CAPITAL MARKET INC.;       ACCOUNTING OF RESERVE AND
                     19     WCM777 INC.; WCM777 LTD. d/b/a   COMPLETION OF CLOSING
                            WCM777 ENTERPRISES, INC.; and    TASKS; REQUEST FOR ENTRY OF
                     20     MING XU a/k/a PHIL MING XU,      ORDER DISCHARGING RECEIVER
                                                             AND CLOSING RECEIVERSHIP
                     21               Defendants,
                            KINGDOM CAPITAL MARKET, LLC; Ctrm: 16
                     22     MANNA HOLDING GROUP, LLC;
                            MANNA SOURCE                     Judge: Hon. John F. Walter
                     23     INTERNATIONAL, INC.;
                            WCM RESOURCES, INC.; AEON
                     24     OPERATING, INC.; PMX
                            JEWELS, LTD.; TOPACIFIC INC.;
                     25     TO PACIFIC INC.; VINCENT J.
                            MESSINA; and INTERNATIONAL
                     26     MARKET VENTURES,
                     27               Relief Defendants.
                     28
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                      1               I, Krista L. Freitag, declare:
                      2               1.    I am the permanent receiver for Defendants World Capital Market Inc.;
                      3 WCM777 Inc.; WCM777 Ltd. d/b/a WCM777 Enterprises, Inc.; and Relief
                      4 Defendants Kingdom Capital Market, LLC; Manna Holding Group, LLC; Manna
                      5 Source International, Inc.; WCM Resources, Inc.; ToPacific Inc.; To Pacific Inc.; and
                      6 their subsidiaries and affiliates (collectively, "Receivership Entities").
                      7               2.    This declaration is made pursuant to my Motion to Conclude
                      8 Receivership ("Motion to Conclude") (Dkt. 576) and Revised Order Granting
                      9 Receiver's Motion to Conclude Receivership ("Order to Conclude"). Dkt. 584. I have
                     10 personal knowledge of the facts set forth herein and, if called as a witness, could and
                     11 would testify to such facts under oath.
                     12               3.    As laid out in my Motion to Conclude and approved by the Order to
                     13 Conclude, I have completed the tasks remaining to close the receivership, including
                     14 (a) issuing final distributions to claimants with approved claims pursuant to the
                     15 Claims Order and approved Distribution Plan and allowing the required 120 days for
                     16 claimants to negotiate their checks, (b) paying Court-approved expenses, and fees and
                     17 costs to professionals, and (c) making arrangements with the Securities and Exchange
                     18 Commission ("Commission") regarding turnover of the remaining balance in the
                     19 receivership estate to the United States Treasury. I have also directed that the final
                     20 tax returns for the receivership estate be completed, which returns will be ready to be
                     21 filed upon final determination of the fee and cost payments discussed below.
                     22               Final Accounting of Receivership Estate Funds
                     23               4.    The final accounting of funds remaining in the receivership estate as of
                     24 the date the Order to Conclude was entered is as follows:
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                                                                     Projected Amounts in       Actual Cash Activity
                      1                                               Motion to Conclude       through July 31, 2019
                      2         Actual Operating Cash on Hand
                                6/30/18                              9,452,314                 9,452,314
                      3         Projected & Actual Interest Income
                                Net of Bank Fees                          310                      6,328
                      4         Total Cash Available for Final
                      5         Distribution before Reserve and
                                Administrative Costs                             $9,452,624                $9,458,642
                      6         Projected & Actual Final Tax and
                                Return Preparation Fees                 25,431                    16,112
                      7         Projected & Actual Storage and
                                Document Destruction Fees                1,000                     1,471
                      8         Contingency                             25,000                       103
                      9         Total Projected & Actual
                                Disbursements (Non-
                     10         Administrative RESERVE)                            (51,431)                  (17,686)
                                Projected & Actual Receiver Fees
                     11         and Expenses                            88,063                    84,837
                     12         Projected & Actual Receiver Legal
                                Fees and Expenses                       30,000                    30,000
                     13         Projected & Actual Epiq Fees and
                                Expenses                                72,702                    72,702
                     14         Total Projected & Actual Fees
                                and Expense Disbursements
                     15         (Administrative RESERVE)                          (190,765)                 (187,539)
                     16         Receiver Fees Incurred & Paid (Q4
                                2017 to Q2 2018)                        67,032                    67,032
                     17         Receiver Legal Fees Incurred &
                                Paid (Q4 2017 to Q2 2018)               27,545                    27,545
                     18         Epiq Fees Incurred & Paid               50,213                    50,213
                     19         Total Incurred & Paid Fees and
                                Expense Disbursements
                     20         (Administrative)                                  (144,790)                 (144,790)
                                Receiver 20% Holdback from
                     21         Interim Fee Applications               402,326                   402,326
                                Receiver Legal 20% Holdback
                     22
                                from Interim Fee Applications          372,820                   372,820
                     23         Total Projected & Actual
                                Disbursements (Administrative)
                     24         – Holdbacks                                       (775,146)                 (775,146)
                                Projected Interim Distribution
                     25         Payments                                          (755,223)
                     26         Projected Cash Available for
                                Final Distribution                               (7,535,269)
                     27
                     28
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                                Interim & Final Distribution
                      1         Payments Actually Cashed by
                      2         Claimants                                                             (7,347,709)
                                Total Projected & Actual
                      3         Remaining Cash                                       $0                 $985,772

                      4               Fees and Costs for Additional Receiver Work
                      5               5.   For a variety of reasons, including the complex distribution process and
                      6 the Vasquez matter (further discussed below), the final number of hours to complete
                      7 wrap-up of this receivership is estimated to be slightly greater than my original
                      8 estimate in the Motion to Conclude. Accordingly, I'm requesting authority to pay my
                      9 company, E3 Advisors, up to $5,000.00 for fees and costs incurred above and beyond
                     10 the pre-approved amount. I have discussed this matter with counsel for the
                     11 Commission and have been advised the Commission does not oppose payment of
                     12 these fees and costs and have included such relief in the proposed Order Discharging
                     13 Receiver and Closing Receivership ("Discharge Order") submitted herewith.
                     14               Fees and Costs for Additional Legal Work
                     15               6.   At the time my Motion to Conclude was filed, Allen Matkins and I
                     16 estimated the legal fees for work remaining to close the receivership would be
                     17 approximately $30,000. After the Motion to Conclude was filed, an investor,
                     18 Rigoberto Vasquez, who had filed an putative class action in the United States
                     19 District for the Southern District of New York against HSBC Bank, objected to the
                     20 Motion to Conclude on the grounds that the Receiver should be required to preserve
                     21 documents and produce them to him at the receivership estate's expense (Dkt. 577).
                     22 This lead to significant unexpected legal work, including to prepare the Receiver’s
                     23 response to Mr. Vasquez's objection (which was overruled by the Court), conference
                     24 with his counsel regarding the estimated costs of producing the requested documents,
                     25 as well as issues concerning the confidentiality of investor data contained in the
                     26 records requested. Mr. Vasquez then sought to circumvent this Court's authority by
                     27 seeking an order from the District Court in New York directing the Receiver to
                     28 produce documents. Allen Matkins prepared a response on my behalf, which was
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                      1 submitted to the District Court in New York, resulting in denial of Mr. Vasquez's
                      2 request.
                      3               7.    I believe Allen Matkins' work to address the issues raised by
                      4 Mr. Vasquez was necessary and appropriate and the fees and costs are fair and
                      5 reasonable. I have discussed this matter with counsel for the Commission and have
                      6 been advised the Commission does not oppose payment of these fees and costs to
                      7 Allen Matkins. Accordingly, I request authority to pay up to $20,000.00 to Allen
                      8 Matkins above and beyond the pre-approved amount and have included such relief in
                      9 the proposed Discharge Order submitted herewith.
                     10               Fees and Costs for Additional Claims Administration Work
                     11               8.    As described in my prior reports with the Court, the distribution process
                     12 in this case is particularly complex due to the large number of claims and the location
                     13 of claimants around the world. Significant time devoted to the final distribution
                     14 process was included in my original estimate of remaining work, but the total number
                     15 of hours and postage costs ended up being a greater than my estimate.
                     16               9.    I believe Epiq’s work was necessary and appropriate and played a
                     17 material role in maximizing the amount of successful final distributions made to
                     18 investors throughout the world. I have discussed this matter with counsel for the
                     19 Commission and have been advised the Commission does not oppose payment of
                     20 these fees and costs to Epiq. Accordingly, I request authority to pay $51,002.02 for
                     21 fees and costs incurred above and beyond the pre-approved amount to Epiq and have
                     22 included such relief in the proposed Discharge Order submitted herewith.
                     23               Entry of Discharge Order
                     24               10.   With all tasks remaining under the Order to Conclude having been
                     25 completed, and the receivership estate having been fully administered and the
                     26 approved distribution process completed, I request entry of the proposed Discharge
                     27 Order submitted herewith and closure of the receivership.
                     28
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